   Case 3:13-cr-01847-WQH   Document 71       Filed 06/05/13   PageID.144     Page 1 of 1



                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA
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UNITED STATES OF AMERICA,                     CASE NO.    13CR1B~7-~QH           ;.. v •.f~rL.   f 'J R\. ,t.


                       Plaintiff,
                                                                                                 DEPlJTY

               vs.                            JUDGMENT OF DISMISSAL
JULIO ROBERT FLORES (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 x __ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     t he jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment/Information:

     8:1324(1) (A) (iii)and(v) (II)



          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: JUNE 3, 2013
                                              Bernard G. Skomal
                                              U.S. Magistrate Judge
